                                          Case 5:17-cv-03279-EJD Document 44 Filed 06/01/18 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6                                      SAN JOSE DIVISION

                                   7
                                        NELLY ZELAYA, on behalf of herself, all
                                   8    others similarly situated,                     Case No. 5:17-cv-03279-EJD

                                   9                  Plaintiff,                       JUDGMENT
                                  10            v.

                                  11    FOOT LOCKER, INC., et al.,
                                  12                  Defendants.
Northern District of California
 United States District Court




                                  13          Defendants’ Motion for Summary Judgment having been granted;
                                  14          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that judgment is entered in
                                  15   favor of Defendants.
                                  16

                                  17          IT IS SO ORDERED.
                                  18   Dated: June 1, 2018
                                  19                                              ______________________________________
                                                                                  EDWARD J. DAVILA
                                  20                                              United States District Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28   Case No.: 5:17-cv-03279-EJD
                                       JUDGMENT
                                                                                   1
